CRIMINAL CAUSE FOR SENTENCING

BEFORE: MAGISTRATE JUDGE REYES DATE: 5/12/2011 TIME: 11:20 a.m -
12:02 p.m.

DOCKET #: 11-cr-00259

DEFENDANT NAME: Gavriel Bidany

_X present ____ not present ____ custody _ X ___ bail
DEFENSE COUNSEL: Saul Bienenfeld

_X__present___—notpresent _ = CJA X__ RET LAS
AUSA: __ William Sarratt and Lisa Kramer Probation Officer: Patricia Sullivan

Pretrial Officer: Louis Calvi

INTERPRETER: _ Ruth Kohn LANGUAGE: __ Hebrew

Court Reporter Victoria Torres Butler

x CASE CALLED DEFENDANT SENTENCED TO: 60 days imprisonment
$10.00 SPECIAL ASSESSMENT
0 FINE

OTHER:

The Government must submit a certified translated copy of Ms. Lechtman’s victim
statement due by 5/16/11. The Court reserves the decision on restitution payment. The
Government’s letter on whether violation of 18 U.S.C. § 113(a)(5) constitutes a crime of

violence due by 5/16/11; Ms. Lechtman’s letter request for reimbursement of expenses and

proof accrued for participation in this case due by 5/20/11; Defendant’s response to the

letters submitted by the Government and Ms. Lechtman due by 5/27/11. A Restitution

Hearing set for June 1, 2011 at 11:00 a.m. Documents received by the Court: Government

Exhibit #1 Ms. Lechtman’s victim statement, Defendant’s Exhibit #1 Letter not dated
from R. B, Stanger, and Defendant’s Exhibit # 27-4 letters written in Hebrew from Mr.

Bidany’s family.
